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                In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                          Case No. 11-248V
                                        Filed: April 20, 2015


* * * * * * * * * * *                      *   *   *
VISWANATHAN SANKARAN,                              *       UNPUBLISHED
                                                   *
                 Petitioner,                       *
                                                   *
v.                                                 *       Special Master Dorsey
                                                   *
SECRETARY OF HEALTH                                *       Motion for Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                                *       Respondent does not Object.
                                                   *
                 Respondent.                       *
                                                   *
*    * *    *    *   *   *     *   *   *   *   *   *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Justine E. Walters, United States Department of Justice, Washington, DC, for respondent.

                         ATTORNEYS’ FEES AND COSTS DECISION1

         On April 19, 2011, Viswanathan Sankaran (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner
alleged that he suffered Guillain-Barré Syndrome (“GBS”) as a result of receiving an influenza
(“flu”) vaccination on October 5, 2010. See Petition at 3. On October 30, 2014, the undersigned
entered a decision awarding compensation to petitioner based on a joint stipulation filed by the
parties.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes medical
files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

                                                       1
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        On April 2, 2015, petitioner filed an application for attorneys’ fees and costs. Petitioner
requests a total award of attorneys’ fees and costs in the amount of $54,224.42. On April 17, 2015,
respondent notified the undersigned’s chambers that she does not oppose petitioner’s application
for fees and costs. In accordance with General Order #9, petitioner’s counsel represents that
petitioner incurred $551.33 in out-of-pocket costs in pursuit of this claim. See Gen. Order No. 9
Statement, filed Apr. 2, 2015.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioners’ request and the lack of any objection by
respondent, the undersigned GRANTS the request for approval and payment of attorneys’ fees
and costs.

       Accordingly, an award should be made as follows:

       1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
          Ronald C. Homer, of Conway, Homer & Chin-Caplan, P.C., in the amount of
          $54,224.42.

       2) in the form of a check payable to petitioner only, in the amount of $551.33.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.


                                              s/Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
